Case 2:25-cv-00197-JCZ-DPC             Document 205          Filed 05/13/25       Page 1 of 17
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                                                                                     RECEIVED
                      Freedom of Information Act (FOIA) Request
                                                                                            MAY 13 2021

 Date: May 2, 2025                                                                    EASTiRN BICTRICT OP LOUISIANA

                                                                                             m
 To: Clerk’s Office, United States District Court for the Eastern District of Louisiana

 Subject: FOIA Request for Clerk Activity Logs, Internal Communications, and EDSS
 Submission Metadata




 Pursuant to the Freedom of Information Act and applicable federal public records laws, I
 respectfully request access to and copies of the following records maintained by the
 Clerk’s Office of the Eastern District of Louisiana relating to Case No. 2:25-cv-00197:

 • Clerk activity logs and docket metadata (including timestamps and personnel
 identifiers) from April 23, 2025 through May 2,2025, especially relating to Rec. Docs.
 174,182,183,185, 186, and 187.

 • All internal emails, messages, notes, or task assignments among Clerk staff (including
 but not limited to those signed as “jls,” “mmm,” “lag,” and “cf’) referring to Plaintiff
 Hiran Rodriguez, filings submitted via EDSS, or the entry of the above-referenced Rec.
 Docs.


 • EDSS system logs and submission metadata for all filings attempted or received
 between April 23 and May 2,2025, including upload confirmation details, access logs,
 format conversion actions, and any system notices.


 This request is necessary to investigate ongoing procedural anomalies, including the
 appearance of unauthorized alterations to court filings and administrative interference
 with EDSS submissions. This period includes Rec. Doc. 183, which Plaintiff alleges was
 not filed as submitted, and Rec. Docs. 186-187, which imposed significant restrictions on
 future filings.

 For purposes of identifying responsible parties and documenting procedural actions, it is
 important to confirm which clerk personnel handled or altered filings during this time.
 Rec. Doc. 174 (filed 04/23/2025) was the last known entry attributed to (lag) before Rec.
 Doc. 186 and 187 (entered 04/30/2025), supporting the need for metadata linkage.


 I request that these records be produced in digital PDF format or native format where
 applicable. If any portions are withheld, please provide the legal justification and index of
                                                                                      'I


Case 2:25-cv-00197-JCZ-DPC          Document 205      Filed 05/13/25   Page 2 of 17




 withheld materials under FOIA exemption standards.


 Respectfully submitted,

 Hiran Rodriguez

 820 Grove Avenue


 Metairie, Louisiana 70003

 (504) 203-8459

 hiranrodriguez(^outlook.com



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Case 2:25-cv-00197-JCZ-DPC              Document 205          Filed 05/13/25      Page 3 of 17




                                       Hiran Rodriguez
                                      820 Grove Avenue
                                  Metairie, Louisiana 70003
                                       (504) 203-8459
                                hiranrodriguez@outlook.com


 May i, 2025


 Clerk of Court


 U.S. District Court for the Eastern District of Louisiana


 500 Poydras Street, Room C-151

 New Orleans, Louisiana 70130



 RE; Freedom of Information Act Request - EDSS Submission Outage Logs and Internal
 Communications (April 17-25, 2025)


 To the Clerk of Court or FOIA Officer:



 Pursuant to the Freedom of Information Act (FOIA), 5 U.S.C. § 552, and Louisiana
 Public Records Law, I am formally requesting access to records concerning the technical
 outage and maintenance of the Eastern District of Louisiana's Electronic Document
 Submission System (EDSS) between April 17, 2025, and April 25, 2025.

 Specifically, I request:

 1. Server logs, error logs, and system status reports showing the nature and duration of
 EDSS outages during this time.
 2. All internal communications (including emails, memos, and helpdesk tickets) between
 Clerk's Office personnel, IT administrators, and contractors discussing the outage or
 EDSS filing restrictions during this timefirame.
 3. Any notice, directive, or order authorizing or acknowledging the maintenance period in
 which the EDSS was rendered unavailable to pro se litigants.
 4. Metadata logs associated with attempted or failed filings by pro se litigants during this
 timefi-ame, including those associated with error messages shown in the attached Exhibit.
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 These records are sought in the interest of preserving the integrity of the court record in
 Case No. 2:25-cv-00197-JCZ-DPC and to substantiate claims of systemic access
 obstmction.


 I request that any responsive records be provided electronically via email to
 hiraiu:odriguez@outlook.com. I am willing to pay reasonable duplication fees up to $25.
 Please notify me in advance if the fees will exceed this amount.

 If this request is denied in whole or in part, please justify all deletions by reference to
 specific exemptions of the FOIA. I reserve the irght to appeal any such decision.

 Thank you for your prompt attention to this matter.

 Respectfully,

 Hiran Rodriguez
 Pro Se Litigant
     Case 2:25-cv-00197-JCZ-DPC                 Document 205          Filed 05/13/25       Page 5 of 17

Hiran Rodriguez

820 Grove Avenue


Metairie, Louisiana 70003

hiranrodriguez@outIook.com

(504) 203-8459




May 2,2025



Clerk of Court


U.S. District Court for the Eastern District of Louisiana


500 Poydras Street, Room C-151

New Orleans, LA 70130




RE: FOIA Request EDSS Maintenance Logs, Communications, and Failure Records (April 1725,2025)

To Wliom It May Concern:




Pursuant to the Freedom of Information Act (5 U.S.C.        552) and any applicable local rules, I respectfully

request the following records related to the Eastern District of Louisianas Electronic Document Submission

System (EDSS) availability and operations during the period of April 17 through April 25,2025:



1. Any internal or external email communications, memos, notices, instructions, or maintenance schedules

related to the planned or unplanned downtime of the EDSS portal during this timeframe.

2. All server-side logs or metadata reflecting failed form submission attempts (including AJAX FITTP errors

and support ID references) involving EDSS interactions from my devices.

3. Records of any maintenance performed on the EDSS portal during this period, including but not limited to:

   The identities of any IT personnel, contractors, or clerical staff responsible for the outages or interface

changes.
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  The specific causes of any disruption or maintenance.

  Internal notices or authorizations approving said outages.

4. All announcements or error messages displayed to the public on the EDSS interface between April 17 and

April 25,2025, including;

  The EDSS system is temporarily unavailable for filing Pro Se documents, as it is undergoing maintenance.

Documents may still be filed by mail or in person.

  The Electronic Document Submission System has completed maintenance and is available again.

5. Error messages received by me, including but not limited to:

   An AJAX HTTP request terminated abnormally (documented during failed upload attempts on April 19,

2025)

        The requested URL was rejected. Please consult with your administrator. Your support ID is:

3733715508232204135 (received April 23, 2025, at 8:54 AM CDT)

6. Any documentation or internal reports referencing delayed, deferred, or rejected filings as a result of this

EDSS maintenance.


7. Any policy changes or emergency procedures that were activated to accommodate mail or in-person filings

during the EDSS outage.




I request that these documents be provided in electronic format if possible. If there are any fees for searching

or copying, please inform me in advance. I am willing to narrow the scope of this request if needed to

facilitate timely production.




Thank you for your prompt attention to this request. Please confirm receipt and advise if any clarification is

needed.




Sincerely,



Hiran Rodriguez
   Case 2:25-cv-00197-JCZ-DPC                 Document 205             Filed 05/13/25   Page 7 of 17

MAINTENANCE NOTICE - SCREENSHOT EXHIBIT - 0001




                         1:57                                                 fQ

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                             UNITED STATES DISTRICT COURT

                 Eastern District of Louisiana
                      The Honorable Nannette Jolivette
                              Brown, Chief Judge
                        Carol L. Michel, Clerk of Court


                Home » Filing Without an Attorney


                Electronic Document Submission
                System (EDSS)

                **The EDSS system is temporarily unavailable for
                filing Pro Se documents, as it is undergoing
                maintenance. Documents may still be filed by mail or
                in person.

                The Electronic Document Submission System (EDSS) is
                available for parties who are not represented by an
                attorney. Such parties may use this service to submit
                documents for filing with the Court. The Pro Se Unit
                reviews all documents submitted through the EDSS
                for compliance with Federal and Local Rules prior to
                filing them in the record. In most instances,
                documents will be processed within 1-2 business days
                of receipt. New case filings will not receive a case
                number until they have been processed. The date the
                document was received will be the filed date. A

                document must be received (i.e., the submission
                process completed in full) by 11:59 p.m. to be filed on
                that ftayls data


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   Case 2:25-cv-00197-JCZ-DPC                      Document 205            Filed 05/13/25   Page 8 of 17

MAINTENANCE COMPLETE - SCREENSHOT EXHIBIT - 0002




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                           UNITED STATES DISTRICT COURT

                Eastern District of Louisiana
                     The Honorable Nannette JoUvette
                                  Brown, Chief Judge
                       Carol L. Michel, Clerk of Court


               Home » Filing Without an Attorney



               Electronic Document Submission
               System (EDSS)
               **The Electronic Document Submission System has
               compieted maintenance and is available again**

               The Electronic Document Submission System (EDSS) is
               available for parties who are not represented by an
               attorney. Such parties may use this service to submit
               documents for filing with the Court. The Pro Se Unit
               reviews all documents submitted through the EDSS
               for compliance with Federal and Local Rules prior to
               filing them in the record. In most instances,
               documents will be processed within 1 -2 business days
               of receipt. New case filings will not receive a case
               number until they have been processed. The date the
               document was received will be the filed date. A

               document must be received (i.e., the submission
               process completed In full) by 11:59 p.m. to be filed on
               that day's date.

               For all emergency filings, filing of sensitive documents,
               and general questions, please contact the Pro Se Unit
               at (S04) 589-7751 or in person in the intake area of
               Room C-151 of the Clerk's Office at 500 Poydras Street,
               New Orleans, Louisiana, 70130. The Pro Se Unit will

               not respond to any correspondence sent through the
               EDSS. If you are unable to utilize the EDSS to submit
               documents to the Court, you can submit documents


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   Case 2:25-cv-00197-JCZ-DPC                 Document 205          Filed 05/13/25     Page 9 of 17

AJAX REQUEST TERMINATED ERROR - SCREENSHOT EXHIBIT - 0003




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                  1. t am intending to file the attached
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                     document with the United States District

                     Court for the Eastern District of

                     Louisiana.

                  2. I understand that all submitted

                     documents must comply with Local Rule
                     10.1 concerning formatting.
                  3. I have signed the attached
                     document with a ■‘wet" or ink signature.




                     An AJAX HTTP request terminated
                     abnormally.
                     Debugging information follows.
                     Path: /file/ajax/submitted/documentj/
                     document_pdfJ/
                     form-3Z_Qi12bPgOI8Vy—
                     IWjlyTXIaOlsonUNphAIndDrES
                     StatusText: error
                     ResponseText:
                     ReadyState: 0

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                 Electfo.nicDgcumeni,Sut>friis5ion System
                 (EQSS)

                 Civil Complaint and Habeas Petition Forms

                    Complaint for a Civil Case

                    Social Security Complaint

                    Complaint for Violation of Civil Rights (Non-
                    Prisoner)



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   Case 2:25-cv-00197-JCZ-DPC                      Document 205              Filed 05/13/25      Page 10 of 17

UPLOAD ERROR - SUPPORT ID 3733715508232204135 - SCREENSHOT EXHIBIT - 0004




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                  support ID is: 3733715508232204135

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                •iler’s Phone Number *

                504-203-8459



                lase Number (if known)
                2:25-cv-00197


                lase Name

                Rodriguez v. Meta Platforms, Inc., et al

                 Document

                 Document 1 (PDF format only) *
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                 Flies must be less than 30 MB

                Allowed file types: jpg jpeg png pdf

                 Document 1 Description *
                  NOTICE OF DEFAULT UNDER RULE 55(a) - DEFENDANT ELON MUSK




                ty clicking "Submit.” you agree to each of the
                ollowtng:

                    1.1am intending to file the attached
                        document with the United States District

                        Court for the Eastern District of

                        Louisiana.

                    2. I understand that all submitted

                        documents must comply with Local Rule
                        10.1 concerning formatting.
                    3. I have signed the attached
                        document with a "wet" or ink signature.
                        I understand that documents not

                        properiy signed will not be accepted for
                        filing pursuant to Fed. R. Civ. P. 11 and
                        Local Rule 11.1.

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   Case 2:25-cv-00197-JCZ-DPC                      Document 205           Filed 05/13/25       Page 11 of 17

UPLOAD ERROR - SUPPORT ID 3733715508232236743 - SCREENSHOT EXHIBIT - 0005




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                 The requested URL was rejeaed. Please consult with your administrator. Your
                 support ID is: 3733715508232236743

                                                                       [Close this message]
                as a single PDF.

                Filer's Full Name *

                 Hiran Rodriguez

                Filer's Email Address *

                 hiranrodriguez@outlook.com

                Filer's Mailing Address (Street, AptYSuit No.,
                City, State, Zip) *
                 820 Grove Ave, Metairie, LA 70003-7024

                Filer's Phone Number •

                 5042038459


                Case Number (if known)
                 2:25-cv-00197


                Case Name

                 Rodriguez v. Meta Platforms, Inc., et al

                 Document

                 Document 1 (PDF format only) *
                   ChooM FH*     - NOTICE OF DE...ON MUSK.pdf    Upload    |o
                 Files must be less than 30 MB

                 Allowed file types: jpg jpeg png pdf

                 Document 1 Description *
                   REVISED NOTICE OF DEFAULT UNDER RULE 55(a) - DEFENDANT ELON MUSK




                By clicking "Submit." you agree to each of the
                following:

                     1.1am intending to File the attached
                        document with the United States District
                        Court for the Eastern District of

                        Louisiana.

                     2. I understand that all submitted



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   Case 2:25-cv-00197-JCZ-DPC                     Document 205           Filed 05/13/25         Page 12 of 17

UPLOAD ERROR - SUPPORT ID 3733715508237149921 - SCREENSHOT EXHIBIT - 0006




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                 The requested URL was rejected. Please consult with your administrator. Your
                 support ID is: 3733715508237149921

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                Case Number (if known)
                 2;25-cv-00197

                Case Name

                 Rodriguez v. Meta Platforms. Inc., et al

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                 Files must be less than 30 MB

                 Allowed file types: jpg jpeg png pdf


                 Document 1 Description *
                   REVISED NOTICE OF DEFAULT UNDER RULE 55(a) - DEFENDANT ELON MUSK




                By clicking "Submit." you agree to each of the
                following:

                     1. I am intending to file the attached
                        document with the United States District

                        Court for the Eastern District of

                        Louisiana.

                    2. I understand that all submitted

                        documents must comply with Local Rule
                        10.1 concerning formatting.
                    3. I have signed the attached
                        document with a "wet" or ink signature.
                         I understand that documents not

                        properly signed will not be accepted for
                        filing pursuant to Fed. R. Civ. P. 11 and
                        Local Rule 11.1.

                    4. I understand that I am responsible for
                        providing copies of my pleadings to all
                        parties who have made an appearance in
                        my case pursuant to Local Rule S.4.

                  Submit




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   Case 2:25-cv-00197-JCZ-DPC                     Document 205                  Filed 05/13/25               Page 13 of 17

404 ERROR - REFERENCE 3733715508239067412 - SCREENSHOT EXHIBIT - 0007




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                    The requested URL was not found on this sers cr If you entered the URL manually please
                    check your spelling and try again.
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   Case 2:25-cv-00197-JCZ-DPC                      Document 205                  Filed 05/13/25               Page 14 of 17

404 ERROR - REFERENCE 3733715508239102548 - SCREENSHOT EXHIBIT - 0008




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                    check your spelling and try again.
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   Case 2:25-cv-00197-JCZ-DPC                     Document 205                    Filed 05/13/25               Page 15 of 17

404 ERROR - REFERENCE 3733715508231907506 - SCREENSHOT EXHIBIT - 0009




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                                   UNITED STATES DISTRICT COURT


                                  EASTERN DISTRICT OF LOUISIANA




                                       CERTIFICATE OF SERVICE




I, Hiran Rodriguez, hereby certify that on May 2, 2025,1 placed in the United States mail, properly addressed

and with sufficient postage affixed, a true and correct copy of the following documents:



- FOIA Cover Letter dated May 1,2025

- FOIA Request for EDSS Maintenance Logs and Related Records

- Screenshot Exhibits (Exhibits 0001 through 0009)



Said documents were mailed to the following address;



Clerk of Court


United States District Court for the Eastern District of Louisiana


500 Poydras Street, Room C-151

New Orleans, LA 70130




Executed this 2nd day of May, 2025,




Respectfully submitted.




Hiran Rodriguez

820 Grove Avenue


Metairie, Louisiana 70003
    Case 2:25-cv-00197-JCZ-DPC        Document 205   Filed 05/13/25   Page 17 of 17

                              UNITED STATES DISTRICT COURT


                              EASTERN DISTRICT OF LOUISIANA




                                 CERTIFICATE OF SERVICE




(504) 203-8459

hiraiirodriguez@outlook.com



(Signature)
